Google

CERTIFICATE OF AUTHENTICITY
I hereby certify:

1. Iam authorized to submit this affidavit on behalf of Google LLC ("Google"), located in
Mountain View, California. I have personal knowledge of the following facts, except as noted,
and could testify competently thereto if called as a witness.

2. I am qualified to authenticate the records because I am familiar with how the records
were created, managed, stored and retrieved.

3. Google provides Internet-based services.

4. Attached is a true and correct copy of records pertaining to the Google account-holder(s)
identified with account(s) GAVINPRIVATE96@GMAIL.COM, with Google Ref. No. 5640648
(“Document”). Accompanying this Certificate of Authenticity as Attachment A is a list of hash
values corresponding to each file produced in response to the Grand Jury Subpoena.

5. The Document is a record made and retained by Google. Google servers record this data
automatically at the time, or reasonably soon after, it is entered or transmitted by the user, and this
data is kept in the course of this regularly conducted activity and was made by regularly
conducted activity as a regular practice of Google.

6. The Document is a true duplicate of original records that were generated by Google’s
electronic process or system that produces an accurate result. The accuracy of Google’s
electronic process and system is regularly verified by Google.

‘he Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct to the best of my knowledge.

___/s Nina Stricklen Date: April 9, 2021
(Signature of Records Custodian)

Nina Stricklen
(Name of Records Custodian)

Google

Attachment A: Hash Values for Production Files (Google Ref. No. 5640648)
gavinprivate96@gmail.com.42601 8443926.GoogleAccount.SubscriberInfo_001.zip:

MD5- d4265aald347d826a29761 1 20eabbc0d

SHAS512-

0d402a7c5a6312b37677699306f349ffdf6ae0372abcc6b3b2875220df901b29f3 af89f25d8fba8d87
3eb2cd00a2dee4fe0a30d5489cdcaa39e927£3b3f827f9

gavinprivate96@gmail.com.42601 8443926.GooglePay.CustomerInformation_001.zip:

MD5- 79af6fa87e410852ed8£558a42cf9d00

SHAS512-

d&ad0elc7b022efc2db7e6c1 ed500fd355ce67cb68938aa2ad44ac9d4508b7728e44888088213274 1
0475bb92c4e27b7b1 1 d0cbfle923aadba909f086dca922e

